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UN|TED STATES DlSTR!CT COURT
SOUTHERN DlSTRiCT OF lND|ANA
INDlANAPOLlS DIV|SEON

RlCHARD L_ KAlVlNlEN,
Petitioner,

v.
GEN. JAN|ES N. NIATT!S

in his official capacity as SECRETARY
OF DEFENSE, and

N0.1:17~cv~03951-TVVP-DML

HARVEY RISHIKOF,

in his official capacity as CONVENENG
AUTHOR|TY, DEPART|VIENT OF
DEFENSE, OFFlCE Ol"-' MIL!TARY
COl\/IISSIONS, and

COE_. VANCE H. SPATH (AER FORCE),
in his official capacity as l\/llLlTARY
JUDGE, lVllt_lTARY CON|N!ESS|ONS
TRlAL JUDIC|ARY, DEPARTN|ENT OF
DEFENSE, and

‘\_/\_/\_/\-JVVVVVVVV\_/VVVVV\_/VV\_/

Respondents.

E_l§TlTION FOR WR|T OF HABEAS CORPUS
AND MOTION FOR DECLARATORY JUDGNEENT

Petitioner Richard Kammen, seeks a Writ of habeas corpus and Order of
Deciaratory Judgrnent, to prohibit his unlawful detention. Petitioner, a United States
citizen, is under direct order by Col. Vance H. Spath, a militaryjudge Who is presiding
over a lVlilitary Commission at Guantanamo Bay, to appear as counsel on Friday,
November 3, 2017, in contravention of his rights. lf Petitioner does not appear, he Wi|l
be arrested and held in contempt by Col. Spath. Petitioner has not been charged With a
crime and Col. Spath lacks statutory authority to order his appearance under these

circumstances

 

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lNTRODUCT|ON

Since 2008, Petitioner R§chard Kammen has been retained as Learned Counsel
for the defendant in United Sfafes v. Abd Al-Rahim Hussein Muhammed Abdu Af-
Nashiri, a capital case being tried before a military tribunal in Guantanamo Bay. Over
the course of lVlr. Kammen’s representation of Nlr. Al~Nashiri, the government has
repeatedly interfered With attorney~c|ient communications intruded into the attorney~
client relationship, monitored and infiltrated defense teams without disclosure Beiieving
his representation to have been ethically compromisedl Nlr. Kammen sought advice
from experts in legal ethics and, ultimately, requested release from Mr. Al-Nashiri’s
case.

Chief Defense Counsel for tVliEitary Commissions, Brigadier Genera| John Baker,
USIV|C, excused Learned Counsel for good cause.

Nu||ifying Chief Defense Counsel's careful review and excusal, Col. Spath now
compete by order lVlr. Kammen’s appearance and continued legal representation of E\/lr.
Al-Nashiri in violation of lVlr. Kammen’s ethicaf and professionaf obligations as an
attorney.

There is no legal basis or authority under which Respondents may hold Mr.
Kammen. Custody of lVlr. Kammen vio!ates "the Constitution or !aws or treaties of the
United States,” and is a violation of 18 U.S.C. § 4001(a) (“Non-Detention Act”). Th§s
Court should issue a writ of habeas corpus and shoufd grant lVlr. Kamrnen’s request for
declaratory relief specifying that the l\/lilitary Commission headed by Col. Spath has no

jurisdiction over lVlr. Kammen, a private citizen.

 

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JuRrlecTioN & v§Nu_E_

 

1. Petitioner brings this action pursuant to 28 U.S.C. §§ 2241 and 2242. This Court
has jurisdiction over the subject-matter pursuant to 10 U.S.C. § 950p(c), 28 U.S.C. §§
1331, 2201l the Fifth Amendment, the Sixth Amendment and the Eighth Amendment.

2. This Court has statutory authority under 28 U.S.C. § 2241 to grant the writ of
habeas corpus. lVir., Kammen, under direct order to appear by Col. Spath, is currently in
custody for purposes of § 22411. Pursuant to 28 U.S.C § 2201, this Court has authority
to declare the rights and other legal relations of the parties herein. Pursuant to 28
U.S.C. §§ 1651 and 2202, and 2201, this Court has the authority to effectuate and
enforce its judgments by ali necessary and proper means, as this case involves an
actual controversy within the Court's jurisdiction

3. Venue is proper in the Southern District of indiana, since the Petitioner is located
in the district 28 U.S.C. § 1391(e).

PARTIES

4. Petitioner, Richard Kamrnen, is a citizen of the United States and a civilian
lawyer holding an unlimited license to practice law in indiana. Since 2008, he has
served as Learned Counsel for lVlr. Ai-Nashiri in a capital case pending before a military

tribunal in Guantanamo Bay.

 

1 The in custody requirement for habeas does not require physical custody Hensley v. Munr`cipai Court,
San Jose~Mfipitas Judicial Dist., 411 U.S. 345, 351 (1973)(paroiee subject to orders to appear and
criminal violation for failing to do so, is “in custody" for purposes of habeas statute.) Custody simply
requires a “severe restraint" on libertyl Which means “one not shared by the public genera[|y.” Jones v.
Cunningham, 371 U.S. 236, 240 (1963). One court has even herd that an order of community service
constitutes “custody" for purposes of habeas Barry v. Bergen Cty. Prob. Dep't, 128 F.3d 152, 154 (3rd Cir.
1997). iV|r. Kammen has been ordered to appear by Cot. Spath before a military commission in either
Alexandria, Virginia or Guantanarno Bay, Cuba. He has been told that his disobedience may result in a
criminal offense by means of a finding of contempt and subsequent punishment iV|r. Kammen is subject
to severe restraints on his fiberty not shared by the pubiic generally

3

 

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5. Respondent, Coi. Vance Spath, USAF, is a citizen of the United States and
presently serves as the military commission judge in the case of United States v. Af-
Nashiri. ln that role, he refused to recognize Chief Defense Counsel for l\/lilitary
Commissions Brig. Gen. John Baker’s excusai of Nlr. Kammen from the Al~Nashiricase,
despite the fact that Brig. Gen. Baker followed proper procedures and made a good
cause determination Fo|lowing lvir. Kammen’s subsequent refusal to appear for a
scheduled hearing, Col. Spath issued a writ of attachment that serves as the basis for
lVlr. Kammen’s current detention and confinement

6. Respondent, Harvey Rishikof, is a citizen of the United States and presently
serves as the Convening Authority for the Office of lVlilitary Commissions in that roie,
he is responsible for convening military commissions and managing their day-to-day
operations lvlr. Rishikof is empowered by statute and regulation to rescind orders
issued by his predecessors His primary place of business is the Defense Pentagon in
Washington, D.C.

7. Respondent, James l\/lattis, is a citizen of the United States and presently serves
as the Secretary of Defense. Under federal |aw, he is delegated the authority to
supervise the conduct of military commissions convened under the i\/lilitary
Commissions Act of 2009 and to appoint and supervise the Convening Authority for the
Office of Military Commissions His primary place of business is the Defense Pentagon
in Washington, D.C,

RELATED CASES
8. ln a prior proceeding in this case, Respondent Col. Spath ordered defense

witness LCDR Stephen D. Gili, USNR, to appear for redirect examination When Gil|

 

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defied Col. Spath’s order to appear, Col. Spath signed a warrant of attachment and,
upon information and belief, directed Assistant United States Attomey l\/lark lVliller, who
is detailed by the DOJ to the military commissions to request that the United States
l\/larshal’s Service retrieve Gill from his home in iVlassachusetts and transport him to
Virginia where he was required to testify by videoconference. At the time, while
discussing the military commission’s authority to compel a witness, lviiller said, “| think
we all agree that we cannot force somebody to come to the island.”2
STATEMENT OF FACTS

9. Abd al Rahim Hussein Nluhammad Abdu Al-Nashiri is a detainee in the U.S.
Naval Station, Guantanamo Bay. lVlr. Al-Nashiri was taken into custody in October 2002
in Dubai, United Arab Emirates. According to the Senate Select Committee on
lntelligence’s “Torture Report" he Was held in five secret ClA overseas prisons,
including one in Guantanamo Bayl Cuba, until he was brought back to Guantanamo in
September 2006.3 lV|r. Ai-Nashiri is charged with multiple offenses under the l‘vli|itary
Commissions Act of 2009 (“lVlCA"), 10 USC §§ 948 ef_ seq. The charges against Nir. Al-
Nashiri were referred for capital prosecution Once the death penalty Was invoked, l\/lr.
A|~Nashiri was entitled to the appointment of counsel learned in the law of capital cases
(“Learned Counsel”). 10 USC § 9493(b)(2)(C)(ii) and R.lVl.C. 506(b). Richard Kammen,

a Weil-respected veteran of both indiana and Federal courts, was appointed to serve as

 

2 http://www.miamiherald.corninews/nation-world/world/americas/quantanamo/artic|e180485996`htm|

3 USS Coie bombing trial guide, Nliami Heraldl September 5, 2016; See;
http:l/www.miarniherald.cominews/nation-Wor|d/world/americas/cruantanamo/article100104397.html (last
visited October 24, 2017).

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Learned Counsel. iVir. Kammen has served as Learned Counsel in over thirty federal
capital cases, severai of Which have been tried to verdict
10. After learning that the government had repeatediy interfered with his attorney-
client communications intruded into the attorney-client reiationship, monitored and
infiltrated defense teams Without disclosure and believing his representation of iVir. Al~
Nashiri to have been irreparably ethicaliy compromised, i\/ir. Kammen sought advice
from Professor E|len Yaroshefsky, a renowned expert in legal ethics
i1. ProfessorYaroshefsky is the Howard Lichtenstein Distinguished Professor of
Legal Ethics and Executive Director of the l\/ionroe Freedman institute for the Study of
Legal Ethics at Hofstra University Schooi of Law. Prof. Yaroshefsky relied upon
unclassified facts that were provided to her as set forth in the fact sheet attached to her
Opinion i_etter. [Exhibit Aj Additionaiiy, Prof. Yaroshfsky’s legai analysis utilized the
indiana Rules of Conduct to Which lVir. Kammen is subject as a member of the indiana
Bar, the i\/iodel Ruies of Professionai Conduct, which govern lawyers in the various
branches of the United States l\/iiiitary, and national ethics opinions and case law.
12. Prof. ¥aroshefsky concluded that ivlr. Kammen’s continued representation of i\/ir.
Ai-Nashiri in this matter would be unethical:
¥ou cannot, consistent with your ethical obiigation continue
to represent iVir. Nashiri Rule 1.16(a)(1) of Professionai
Conduct mandates that you Withdraw from representation it
provides that a lawyer “shall withdraw from representation of
a client if the representation involves a violation of the rules
of professional conductor other iaw.” You are required to
Withdraw as his counsel because continued representation
will result in a violation of |RPCs and i\/|RPCs 1.1, 1.3. 1.4
and 1.6.

Exhibit A, pg. 7.

 

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13. On October 6, 2017, Nir. Kammen sought permission to withdraw from
representation of ivlr. Ai-Nashiri on the grounds that his continued involvement in this
case violated the ethical rules to which he is subject as a member of the Bar of the
State of indiana [Exhibit Bj The relevant rule for excusai provides:

After an attorney-client relationship has been formed
between the accused and detailed defense counsel an
authority competent to detail such counsel may excuse or
change such counsei oniy: (i) Upon request of the accused
or application for withdrawal by such counsel; or (ii) For
other good cause shown on the record.

Rule for Niiiitary Commission (R.i\/i.C.) 505(d)(2).

14_ On October 11, 2017, Brigadier General John G. Baker, the Chief Defense
Counsel for l\/iilitary Commissionsl excused Nir. Kammen as defense counsel4 and
directed him to file a Written "notice" of excusal With the military judge [Exhibit C] Brig.
Gen. Baker’s excusal Was based upon the “good cause" provision of R.l\/i.C. 505(d)(2),
quoted above in reaching his conclusion, Brig. Gen. Baker relied upon iVir. Kammen’s
request to withdraw as Learned Counsel, including Prof. Yaroshefsi<y’s opinion, as Weii
as, "ali of the information l know about this matter - both classified and unclassified".
Exhibit C [emphasis added].

15. Additionai authority for Brig. Gen. Baker's exclusive power to remove counsei,
in his capacity as Chief Defense Counsel for i\/iilitary Commissionsl is discussed at
iength beiow. For purposes here, it is important to note the source and his appointment

and authority to act as Chief Defense Counsel.

 

4 The two other civilian defense lawyers were also excused Their status is not part of this action

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16.

a. Congress established the office of the Chief Defense Counsei. 10 U.S.C.

§ 948(q).

. The Chief Defense Counsel is a general officer nominated and appointed

by the President following confirmation by the Senate, 161 Cong. Rec.
84554, 4555 (daiiy ed., June 23, 2015), after being selected for that office
by a joint selection board_ See, Under Secretary of Defense

lViemorandum of instruction 20141216 (convening of seiection board).

_ Among military commission actors, only the Chief Prosecutor holds the

same grade and is similarly given a constitutional appointment to office
The Chief Prosecutor, like Chief Defense Counsel, is granted the authority
to act as the sole excusai authority for those counsei who work under

his/her supervision

. Brig. Gen. Baker has served in various capacities during his career as a

Nlarine JAG. He has prosecuted and defended courts martial. He served
as the Staff Judge Advocate for then-Niarine Corps Commandant Gen.

dames iviattis, now-Secretary of Defense

lVir. Kammen fiied the written notice of his excusai on October 13, 2017. On

the same day, lVir. Al-Nashiri, through his sole remaining military counsell moved to

abate the proceedings untii new Learned Counsel could be located. [Exhibit D]

Appointment of new Learned Counsei would also require that the conditions causing lVir.

Kammen’s excusal be remedied, as any new lawyer Wou|d necessarily labor under the

same ethical constraints that required l\/ir. Kammen’s excusal.

 

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17. On October 16, 2017, Respondent, Coi. Spath, issued a "Briefing Order”.
[Exhibit E] Without elaboration he said that the Commission had not found “good
cause" to excuse civilian defense counse|, including iVir. Kammen, and directed civiiian
defense counsel to be present at the United States Naval Base in Guantanamo, Cuba
for scheduled hearings from October 30, 2017 through November 17, 2017. Col. Spath
also ordered expedited briefing on the motion to abate

18. On October 20, 2017l the government filed its response, objecting to the
motion to abate [Exhibit F] in the governments view, there Was no reason to abate the
proceedings because l\Ar. Kammen and his colleagues had no “good cause" for excusai
and, therefore, lVlr. Kammen remained counsel for Nlr_ Al-Nashiri.

19. On October 24, 2017. the Chief Defense Counsel for lViilitary Commissions
filed a response on the issue of his authority to excuse Learned Counsel and other
civilian counsel [Exhibit G] and on October 26, 2017 he filed a response to the
governments reply to the motion to abate [Exhibit l-l] Brig. Gen Baker explained that
his power to excuse counsel for “good cause" is uniiateral and unreviewable under the
amended ruies promulgated by the Secretary of Defense in 2011. This issue is
discussed in further detail beiow.

20. On October 27, 2017, Respondent, Coi. Spath, issued an Order denying the
motion to abate [Exhibit l] The Order did not contest Brig. Gen. Baker's excusal of l\/lr.
Kammen and did not purport to vacate Brig. Gen. Baker‘s order of excusai, but did
assert that he had the authority to override Brig. Gen Baker’s finding. l\/ioreover, Coi.

Spath stated that the defense had presented no evidence of intrusion Warranting

 

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excusal for good cause This statement was false and an examination of the classified
evidence Wouid demonstrate that it is false

21. On October 30, 2017, lVir. Kammen and the two other civilian lawyers did not
appear for scheduled hearings in iVlr. Al-Nashiri’s case in Guantanamo Bay. `l'he court
directed the parties to file briefs by noon detailing lawful next steps

22. On October 30, 2017, the government filed its brief. Exhibit J, attached hereto.
There, the government laid out a road map of what should occur that included holding a
hearing, making factfindings ordering Brig. Gen. Baker to testify, ordering Brig. Gen.
Baker to countermand his own orders and holding him in contempt if he failed to do any
of these things lt also suggested the militaryjudge should order the civilian lawyers
including ivir. Kammen, to testify via video from Virginia, and if they failed to do so, find
them in contempt

23.0n October 31, 2017, court was convened and the absence of |V|r. Kammen and
the other two civilian defense attorneys was noted for the record. The transcript of this
hearing is attached as Exhibit K. The court made record of the findings of fact which he
deemed relevant to both the issues surrounding civilian counsel’s absences and the
expected testimony of Brig. Gen. Baker. Exhibit K, pp. 10020-10027. The court noted
these findings were found "at least by a preponderance of the evidence." Exhibit K, pg.
10020.

24.The court attempted to call Brig. Gen. Baker to testify iVir. Sundel, present as
Acting General Counsel for the i\iiilitary Commissions Defense Organization, asserted
Brig. Gen. Baker’s privilege not to testify pursuant to Rule 501 (b)(t). The privileges

claimed by Brig. Gen. Baker Were “the deliberative process privilege, which is a

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common law privilege; the government information privilege under 506; the attorney-
client privilege under 502; the attorney work product privilege under common law; and
additionally my obligation under my state ethics rules to protect confidential information
under Rule 1.6.” Exhibit K, pp. 10039-100040.

25.The court found Brig. Gen. Baker had to invoke privilege for each individual
question propounded Exhibit K, pg. 10029. Brig. Gen. Baker refused to be a witness
l\/lr. Sundel explained if the privilege Were Wrongfully pierced by the court there would be
irrevocable harm. Exhibit K, pg. 10032. He also explained that the iViodel Rules of
Professionai Responsibiiity require an attorney to pursue vehicles to challenge an order
to pierce a privilege unless and until the highest available court decides the issue or
declines to hear it Exhibit K, pg. 10033. Brig. Gen. Baker sought to take an appeal
before being required to testify but the court said, “[t]hat is not one of the options”
Exhibit K, pg. 10031. After much back and forth, Brig. Gen. Baker did not testify

26.The court also directed Brig. Genr Baker to “rescind the direction you gave when
you excused both learned outside - appointed learned counsel and the two civilians.”
Exhibit K, pg. 1042. The court order Brig. Gen. Baker “to send them a memo telling
them their withdrawal is not approved because you don’t have the authority." Brig. Gen.
Baker declined to do`this. Brig. Gen. Baker and another military lawyer were directed to
return the following day for contempt hearings

27.0n November 1, 2017 contempt proceedings Were undertaken The transcript of
these proceedings are attached as Exhibit L. Brig. Gen. Baker attempted to defend
himself and make a record, including arguing the militaryjudge had no jurisdiction over

him, but the militaryjudge Would not allow it. The militaryjudge repeatedly told him to

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sit down and not speak. V\ihen Brig. Gen. Baker “request[ed] to be heard", the judge
threatened to have him removed. Exhibit L, pg. 10055. Laterthe militaryjudge said,
“i’m denying you the opportunity to be heard." Exhibit L, pg. 10054. The militaryjudge
expressed his frustration that some “might think this is fun or iighthearted”. Exhibit L,
pg. 10054. He indicated he had “heard commentary out around the base Al|s (sic)
you’ve got to do is get on the lnternet.” Exhibit L, pg. 10054. lt is unclear to what he
refers Al| parties to this action, including Brig. Gen. Baker, have been nothing but
respectful to the military judge in these proceedings The suggestion that any of the
parties view this as “fun or lighthearted" could not be further from the truth.

28.At the conclusion of the contempt proceedings the militaryjudge found Brig. Gen.
Baker in contempt for willfully disobeying his order to rescind his excusai of civilian
defense counsel and for refusing to testify on multiple occasions in his presence The
militaryjudge found beyond a reasonable doubt that these acts disturbed the
proceedings Brig. Gen. Baker was sentenced to 21 days confinement to his quarters
and a $1000 fine5

29. Later that day the military judge issued a written order directing civilian counsel,
including Nlr. Kammen, to appear at the i\iiarks Center in Alexandria, Virginia to continue

their representation of Mr. Ai-Nashiri through videoconference.6 The Order is attached

 

5 Thejudge declined to find lVir. Sutton in contempt The judge did, however, note that he failed to notify
the commission ot his appearance and did not file a request to be heard as a third party Additionally, iVir.
Sutton "managed to refer to me as “Co|one|" throughout the process despite my title clearly as "The
Commission” or "Your l-ionor" or "Judge” or anything else indicating you respect that you’re in a
courtroom.” Exhibit iVi, pg. 10066. This the military judge said “made a mockery of the rules that apply to
appearing before the commission". The military judge said this was "disappointing, concerning conduct",
but not contemptuous because When directed to stop speaking Nir. Sutton did so.

6 Earlier that same day the military judge stated in open court that he was ordering counsel to the
Virginia location on iVlonday November 61h where they would be permitted to "present arguments as to
why they should be released from the representation of the accused different than the arguments l’ve
already heard." Exhibit lVi, pg. 10065. The written order moved the date up to Friday November 3rd and

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here as Exhibit iVi. Given the history of what has occurred here, the Order remarkably
says "{t]his location will provide counsel with the capability to participate in the hearing
as well as confer With their client discreet|y thorugh secure terminal equipment”

30.The November 1St Order clearly and unequivocally states “Failure to comply With
this order may constitute contempt upon these proceedings as weil as another voluntary
absence by counsel of record." Exhibit l\/i, pg. 2.

31 .At core, the ethical problem in this case is that the governments monitoring of all
methods of attorney communication between lVlr. Kammen and his client put counsel in
the ethically untenable position of being unable to assure that the communications
between attorney and client are contidential. See, ind. R. Prof. Cond. 1.6 (duty to
maintain confidentiality of client communications). |f counsel cannot confidentially
communicate with his ciient, he cannot communicate With him at ali which is a violation
of lnd. R. Prof. Cond. 1.4 (duty to keep client reasonably informed about the status of
the matter). Under these circumstances counsel is required, not just permitted, to
Withdraw. See Exhibit A.

32. The context in which the current issue arises reveals ongoing governmental
interference in the attorney client relationship between iVlr. Kammen and lVlr. Al-Nashiri.
i\/luch of the information that immediately supports Brig. Gen. Baker's decision to
excuse iVir. Kammen is classified7 But some of it is not and the picture that the

unclassified information paints ofjustice in death penalty cases prosecuted at

 

was silent as to making arguments regarding why they are no longer counsel1 or should be removed as
counsel, to Nlr. Al~Nashiri.

7 Counsel for Petitioner have not had access to classified information relating to this matter. Everything
contained in this filing is non-classifiedl Needless to say1 this has compromised counsels’ representation
of Petitioner. lt, likewisel impedes the Court’s ability to resolve the issues contained herein

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Guantanamo Bay reveals a stunning, systemic, and fundamental disregard both for the
right to counsel and for fairness at its most basic level. Because the conduct by
government actors prevented iVlr. Kammen from meeting his ethical responsibilities to
his client,.the indiana Ruies of Professional Conduct to which he is bound required his
withdrawal from lVir. Al-Nashiri’s defense Accordingly, he Was excused by Brig. Gen.
Baker via the process for excusal that the Secretary of Defense proscribed in 2011.
33. Ongoing government interference in the attorney client relationship involved

but was not limited to the following

a. interference with attorney-client telephone contact

in 2011, prison authorities at Guantanamo Bay prohibited all telephone
communication between defense counsel and their clients This Was challenged by
defense counsel but the prohibition was upheld This in combination with the mail
issues noted belowl requires that all communication between lawyer and client be in
person at the Naval Base in Guantanamo Bay, Cuba.

b. interference with attorney-client contact bv mail. Communicating with lVir.
Al-Nashiri via letter has been fraught With confidentiality problems

(1) in October of 2011, guards confiscated privileged legal materials from the
detainees' cells The Legal Department at the Naval Base read counsels’
correspondence to their clients Counsel complained about the intrusion

(2) in November 2011, defense counsel again complained to the Deputy
Secretary of the Defense for Detainee Affairs about violations of privileged attorney

client communications and requested that they cease Presciently, counsel predicted

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that “The review and censorship of legal materials will effectively grind litigation to a halt
by barring legally required attorney-client communications.”8

(3) in December 2011l the Commander of Joint Task Force (“JTF”) -
Guantanamo issued orders requiring military officials to review all legal correspondence
between defense counsel and their clients Counsel who did not agree would not be
permitted to visit their clients

(4) ln .lanuary 2012, the Chief Defense Counsel issued an ethics instruction
prohibiting defense counsel from using the Guantanamo legal mail system for privileged
communications because they cannot adequately safeguard attorney client privileged
communications Defense counsel were unable to exchange confidential written
communications With their client for almost two years lt Was not until November 2013,
that the military commissions in US v. Mohammad et. ai. issued an order regarding the
management of privileged written communications

c. interference with privileged work product Privileged work product has
also been the subject of governmental intrusion

('i) in lviarch 2013, defense counsel discovered through a series of lT related
failures that some unknown amount of privileged work product had been disclosed to
the prosecution lT personnel not bound by non-disclosure agreements and other
unknown entities The failures demonstrated that despite its privileged nature, defense
counse|s’ computer data was not segregated or treated differently than data belonging

to other computer system users

 

8 Letter from Counsel for High-Value Detainees to Deputy Secretary of Defense for Detainee Affairs
Subject: Request to Cease and Desist On-Going Attorney-Client Privilege Violations and For Compliance
with Domestic and international Law Standards Regarding Detention Conditions l November 2011
available at: http:llmediaimiamiheraid.comismediai20t1111i91!17/45/10iio.So.56.pdt.

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(2) At this same time, it was discovered that despite assurances to the
contrary, active monitoring of defense internet usage is not conducted differently than
for other system users iT technicians outside iVlilitary Commissions Defense
Organization were allowed to monitor defense counsel online. This failure was revealed
when a defense team member opened a webpage and immediately received a phone
call from an unknown lT technician about sidebar content

(3) A huge number of defense computer files unaccountably disappeared
from network systems including materials as highly sensitive as letters between
counsel and their clients Files from defense counsel are unaccountably placed in other
organizations' computer folders Some defense team members were unable to access
their files or edit shared files The situation worsened over time

(4) Foliowing broad searches of archived electronic communications on
behalf of the prosecution lT technicians sent the prosecution what may have been
hundreds of thousands of internal defense emails The Chief Prosecutor guaranteed
that “[a]t no time did any prosecutor actually view the content of any privileged defense
communications

(5) in April of 2013, in light of the above breaches the Chief Defense Counsel
determined defense counsel could not adequately safeguard attorney client privileged
communications The Chief Defense Counsel issued an ethics instruction prohibiting
defense counsel from using Defense Department computer networks including email,
to transmit privileged or confidential information Efforts to mitigate the risk of improper

disclosure more than tripled the amount of time necessary to draft and file pleadings

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(6) Also in April 2013, the militaryjudge in lVlr. Al-Nashiri’s case abated the
proceedings for two months due to the government intrusions into defense emails.9

(7) After receiving no response to thirteen (13) letters addressed to the
Deputy Assistant Secretary of Defense for Ruie of i_aw and Detainee Policy, defense
counsel wrote directly to the Secretary of Defense seeking to address inter alia, the
systemic seizure of attorney client privileged materials Counsel asked the Secretary of
Defense to cease the daily searches of legal bins and “order an immediate investigation
into the identity of the persons responsible for ordering these seizures of attorney client
privileged materials as well as the purpose for the seizures."10

d. interference with the attorney client privilege by attempted infiltration of
defense teams The government has also attempted to infiltrate the detainees’ defense
teams

(1) in April of 2014, two FBl agents recruited a civilian member of one of the
detainees' defense team to act as a confidential informant The civilian defense team
member was interrogated about purported Wrongdoing by all the defense teams
representing the detainees The defense team member was suspended and the
lawyers had to question each of their own team members as to whether the team
member had been contacted by federal agents and questioned about activities of the

defense team under secret agreements with the l:Bl.11

 

9 Guantanamo clogged by new controversy after mishandling of e-mail‘sl Washington Post, April 11, 2013l
See: https:iiwww.washindtonpostcominational/ouantanamo-doufled-by-new-controversv-after-
mishandlinq-of-e-rnaiisi2013/04/11/1973bf9a-a2dd~1te2-82bc-

511538ae90a4 story,html?utm term=.75790217def8 (last viewed October 27, 2017)

10 Joint Defense Letter to Secretary Hagel (lVlay 20, 2013).

11 Accusation of FBl spying stalls 9/11 hearing Niiami Heraldl April 14, 2014l See
http:liwww.miamiherald,comfnewsination-woridlworidiamericas/article1962835_htrnl (last viewed October
25, 2017).

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(2) The following year, court proceedings Were called to a halt because the
detainees recognized a court translator assigned to the defense as a ClA agent who
had worked at the “black site” where they had been tortured The interpreter was a
replacement for a previous defense translator after an FBi investigation secretly
questioned defense team members Court was halted upon the discovery. When court
resumed the linguist was no longer in the courtroom.l’-

e. interference With attorney-client face-to~face meetings

(1) Travel to Guantanamo Bay is onerous `l'here is one commercial flight out
of Ft_ l_aucierdale and military “Commissions flights" that are chartered by the Office of
the lViilitary Commissions There is also a periodic “rotator flight" from NAS Jacksonyille
to Guantanamo. There is no daily flight into Guantanamo Bay. The military flights may
be scheduled but cancelled if the load is not enough to justify the flight Due to the
vagaries of flight schedules every time l\/lr. Kammen goes to Guantanamo Bay to meet
his ciient, he spends three or four days traveling if his business at the Naval Base is
completed before the next flight (which may be days after his work is done), he is
required to remain until the flight leaves

(2) Because Cuba is a foreign country, customs must be passed each time
lVlr. Kammen travels there He is required to have a country clearance issued by the
military as well as specific approval to enter the base He must have a valid passport to

travel to Guantanamo. This is true even when flying on the military commissioned

 

12 Guantanamo hearing halted by supposed C|A "biack site” worker serving as war court iinguist, Niiami
i~leraidl February 9, 2015, See, httbti/www.miamiherald,com/newsfnation-
woridtworldlamericaslguantanarnolarticle96001t0.htm| (last viewed October 25, 20l 7).

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flights Upon return to the United States all people on the flight must “clear customs.”
Clearing customs can take hours thus adding even more time to each trip.

f. The government has repeatedly interfered with the confidentiality of
attorney-client meetings iVir. Ai-Nashiri’s inability to meet with his lawyers confidentially
has made representation difficult for both attorney and client lVlr. Al-Nashiri, through
counsel, has repeatedly been assured that his visits are not being monitored only to
discover later that they are These conditions make it impossible for the client to trust
the confidentiality of what he tells his lawyers The problem is exacerbated in lVlr. Al~
Nashiri’s case because of language and cultural barriers to trust, as well as the
drumbeat of political rhetoric and policy concerning Arabs and i\ilusiims.

(1) As early as 2012, confidentiality concerns began to appear regarding the
interview rooms at the Naval Base in .ianuary 2012, JTF-GT|V|O’s chief staff attorney
reportedly discovered the rooms in which defense counsel had been meeting with their
clients for years were wired with microphones that look like smoke detectors The chief
of the guard force reportedly assured staff counsel that nobody at Guantanamo was
turning on the microphones to listen in on privileged attorney client meetings But the
prison camp commander was reportedly unaware of this discovery Defense counsel
Was not notified

(2) in lViarch 2012, in apparent contradiction of the discovery concerning the
“smoke detectors”, the prison camp commander Wrote to Southern Command and
advised that “no microphones are installed” in attorney client meeting rooms “to ensure

privacy between the attorney and client is maintained.”

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(3) ln Nlay 2012, at arraignment in United States v. Mohammad, et al.,
defense counsel informed the court they were unable to confidentiaily communicate with
their clients during the period when the government was deciding whether to pursue the
death penalty

(4) in January 2013l an unknown government entity was able to silence the
courtroom audio feed The act is tantamount to censoring the proceedings a function
reserved for the military judge it was also discovered that courtroom microphones
could capture confidential conversations between counsel and client even When the
microphone is purposely muted by counsel,

(5) ln February 2013, the commander of the detention camp acknowledged
under oath that he had known for more than a year that several attorney client meeting
rooms contained cameras and dummy smoke detectors serving as listening devices
The government argued in court that there was no effort to conceal the devices and
their purpose was clearly labeled The military judge “looked at the picture of the
microphone in an ECl-lO ll room and concur[red] thatl with casual observation it jcould]
be mistaken for a fire alarm.”13

(6) ln August 2013, the military judge in i\/ir. Al-Nashiri’s casel over defense
objections accepted the assertions by JTF-G'l'i\/lO that there was no monitoring of
attorney client meetings in the preceding two years and decided that there was no need
to consider whether meetings in the years prior were monitored The court refused to

grant an order prohibiting future monitoring because in its view, such an order would

 

13 United States v. Khalid Shaikh Mohammad, Ruling on Emergency Defense iVlotion (AE 13300), pg. 12

(November 30, 2016), available at: https://assets.documentcloud.org/documentsi3868604ilviarine-
generai-s-letter-on-Attornev-Client.pdi (last viewed October 23, 2017).

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constitute judicial overreach and an advisory opinion The military judge concluded:
“The JTF Commander and his subordinates have a preexisting legal duty not to monitor
attorney-client communications and issuing an order requiring them to execute their
duties would be superfluous"l4

(7) The Organization for Security and Cooperation in Europe (OSCE)15
conducted an assessment of conditions of detainees at Guantanamo in August 2015 at
which time they received assurances that there “are currently no listening devices in
rooms used for attorney-client meetings [and] that private conversations between
counsel and their client in the courtroom remain private and are not recorded
transmitted or shared with anyone outside the privileged attorney-client relationship."l6

(8) in November 2016, in response to defense claims of eavesdropping upon
attorney client conversations in the holding cell associated With the court and the
interview room, the militaryjudge issued an order directing that lawyers be briefed on
the eavesdropping and recording capabilities of the “smoke detectors" in the interview
rooms and that, if the government planned to monitor attorney client meetings they

were to provide advance warning.17

 

14 United States v. Nashiri, AE 149K, "Order ~ Defense lyiotion for Appropriate Relief: Determine the
Extent of Past i\ilonitoring at Camp Echo ll and Order that No Future l\lionitoring Occur in JTF-GTN|O
Facilities”1 August 5, 2013, pg. 4.

15 The OSCE addresses a wide range of security-related concerns including arms controll confidence
and security-building measures human rights national minorities democratization, policing strategies
counter-terrorism and economic and environmental activities

See, http:/lwww_osce.orglwhatistheosce (last visited October 24, 2017). The United States is a
participating nation state. §

16 OSCE l-iuman Rights Situation of Detainees at Guantanamo (November 2015), para. 402, citing US
comments to the draft report that were submitted on August 6, 2015. i_d_. at par. 96.

17 United States v. Khalid Shaikh Mohemmad, Ruling on Emergency Defense lVlotion (AE 133QQ), pg.
16-17 (November 30, 2016)l available at: https:l!assets.documentcloud.org/documentsi3868604llviarine~
general-s~letter-on-Attorney-Ciientpdi (last viewed October 23, 2017).

 

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a. On .lune 14, 2017, Brig. Gen. Baker issued a memorandum advising defense
counsel, including lVlr. Kammen, that he had recently received information indicating
ongoing improper monitoring of meetings between detainees and their lawyers This
unlawful monitoring was said to have occurred between September 2015 and April
2017.18 He cautioned counsel to “not conduct any attorney-client meetings at
Guantanamo Bay, Cuba until they know with certainty that improper monitoring of such
meetings is not occurring":
At present, l am not confident that the prohibition on
improper monitoring of attorney-client meetings a GTl\/lO as
ordered by the commission is being followed lilly loss of
confidence extends to all potential attorney-client
meeting locations at GTMO. Consequently, l have found it
necessary as part of my supervisory responsibilities under 9-
1a.2 and 9-1a.9 ofthe Regulations for Tria| by l\ililitary
Commission to make the above-described recommendations
to all lViCDO defense counsel, Whether, and to what extent
defense teams follow this advice is up to the individual
defense team.19

[Emphasis added].

b. After that memorandum, the Prosecution assured the defense and the
Commission that the issue of concern did not affect the space where |Vlr. Kammen
meets with his client. A|though the litigation over this assurance is classified by the

government Nlr. Kammen is allowed to publically say that those assurances were

completely contradicted

 

18 Latest attorney-client privacy issue at Guantanamo is called “unintentional"l lilliami Heraid duly 2, 2017.
See: htto://www.miamiheraldcom/newslnation-world/world/americas/guantanamolarticie159333239.htmi
(last visited October 24, 2017).

19 https:llassets.documentcioud.orgldocumentsr'3868604llviarine-general-s-letter-on-Attorney-Ciient.pdi
(last viewed October 23, 2017).

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c. iVir. A|-Nashiri has been detained for the past fifteen (15) years He has no
Contact With the outside world except for his attorneys, periodic monitored telephone
conversations With his family, and meetings With the Red Cross. Thus, it cannot be that
the United States is monitoring privileged attorney ciient communications in order to
seek new information in its "war on terror". What is more |ikeiy, is that they seek
information about defense strategies concerning l\/lr. Al-Nashiri’s treatment since he has
been in United States custody. “Unclassified documents show [i\llr. Ai-Nashiiri} was
waterboarded, abused rectai|y, confined to a coffin-sized box and subjected to other
‘enhanced interrogation techniques' to break him in interrogation.”?-0 |t has also been
reported that “[h]e aiso was kenneled like a dog in a cage and hung nude by his arms to
the point Where a medical officer worried his arms Would be dislocated. Other
techniques used on him included a C|A officer revving a cordiess drill [near] lV|r. Ai-
Nashiri’s head while he was blindfolded, cooking a pistol near his head, threatening to
sexually abuse his mother, and according to a 2016 account by one of his interrogators,
using a ‘stiff brist|ed brush to scrub his ass and balls and then his mouth and blowing
cigar smoke in his face until he became nauseous.”21 l\l|onitoring to obtain a procedural
advantage in litigation strikes at the core of due process, the right to a fair triai, the
attorney client relationship and privileges, and the right to counsel enshrined in the Sixth
Amendment.

GROUNDS FOR RELIEF

 

20 Guantanamo’s USS Cole death-penalty case in limbo after key defense lawyer quits, lilliarni Herald,
October 13, 2017; http:llwvvw‘miamiheraid.comlnewslnation-
world/world/arnericaslquantanamolarticiet 7BGQt 836.html (iast viewed October 23, 2017).

21 USS Cole bombing trial guide, |Vliami Heraid, September 5, 2016; See:

httg:llwww_miaminerald.comlnewslnation-worldlworid/americas/guantanamolarticlei00104397.htrnl (East
visited October 24, 2017).

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Ground l
Coi. Spath Lacks Authority to Order the Appearance of Petitioner as Counsel

34. Petitioner incorporates by reference paragraphs 1-33, supra

35.Co|. Spath had no authority to issue the October 16, 2017 Order directing l\/lr.
Kammen to appear as counsel for iV|r. A|-Nashirl nor the November 1, 2017 Order
directing the same.

36.The authority to detail and appoint defense counsel belongs only to the Chief
Defense Counsei. Congress tasked the Secretary of Defense with prescribing
regulations for detailing and appointing military commission defense counse|. 10 U.S.C.
§§ 948k(a)(4) and (c)(2). The regulations promulgated vested the sole authority in Chief
Defense Counsei. R.l\/t.C. 501(b); Regulation for Trial by |Viilitary Commission
(“R.T.IV|.C.”) 9-1.a.4. Ru|e 501(b) of the R.NI.C. states unequivocally “|V|ilitarytria| and
defense counsei shai| be detailed to military commissions by the Chief Prosecutor and
Chief Defense counsell respective|y.”

37. Believing his continued representation of lVlr. A|-Nashiri a vioiation of ethical
rulesl |Vlr. Kammen had an ethical and legal obligation to discontinue representation of
lVlr. Ai-Nashiri. "The lawyer-client privilege rests on the need for the advocate and
counselor to know all that relates to the client[] . . . if the professional mission is to be
carried out." Upjohn Co- v. United Staies, 449 U.S. 383, 389 (1981) (quoting Trammel
v. United States, 445 U.S. 40, 51 (1980));`see also id. (stating that “|ega| assistance can
oniy be safely and readily availed of when free from the consequences or the
apprehension of disclosure”) (citation and internal quotation marks omitted). If a client
is unable to give his lawyer information “free from the consequences or the

apprehension of disclosure," then his |awyer’s “need . . . to know all that reiates to the

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ciient{]" is unfulfilled and the lawyer cannot “carr[y] out” the professional mission of
providing effective representation, which is a defendants constitutional right. ld.;
Strickland v. Washington, 466 U.S. 668, 686 (1984).

38. Under this legal and ethical obiigation, i\flr. Kammen appropriately moved the
Chief Defense Counsel for permission to withdraw for good cause and permission was
granted l\llr. Kammen filed his written notice of excusal and at that time his status
changed in the current proceedings from learned counsel to a private American citizen.

39.Nowhere in the Ru|es is there a provision ailowing the reversal of Chief Defense
Counsel's decision to find good cause or excuse counsel Once excused, counse|’s
participation in the commission is terminated

40. ln his order denying the motion to abate, Col. Spath contends that he retains
control over whether lVlr. Kammen may properly be released from lVlr. Al-Nashiri’s case.
ln Col. Spath’s view, ambiguity exists in the law regarding who determines whether
good cause has been shown on the record and that where the ambiguity exists, the
excusai must be accomplished by a military judge on the record The problem with this
logic is that there simply is no ambiguity The language relied upon by Col. Spath has
been deleted from the R.lVl.C.

41 .Col. Spath relies upon the language in the original 2007 Rules for l\llilitary
Commission (RN|C), which in discussing the accused’s rights to counsel in Rule 506
stated:

(b) Excusa| or Withdrawal. Except as otherwise provided in
R.l\/l.C. 505(d)(2), defense counsel may be excused only
With the express consent of the accused, or by the military
judge upon application for withdrawal by the defense
counsel for good cause shown.

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42.The current version of the code has deleted that provision in its entirety, leaving
oniy section 505(d)(2) to govern the excusal of defense counsel which states:

(B) After formation of the attorney client relationship After an
attorney-client relationship has been formed between the
accused and detailed defense counsel or associate or
assistant defense counsel, an authority competent to detail
such counsel may excuse or change such counsel only:

(i) Upon request of the accused or application for
withdrawai by such counsel under R.l\l‘l.C. 506(b); or

(ii) For other good cause shown on the record

43. Col. Spath was Without authority to nullify Genera| Baker’s excusal of lVlr.
Kammen. Therefore, Col. Spath lacks any authority to order lVlr. Kammen’s appearance
as counsel,

44. Nloreover, lVir. Kammen could not obey the order to appear as counsel without
violating lndiana’s Rules of Professional Conduct and his client’s rights, rendering the
order of contempt unlawful. See `l'urner v. Rogers, 564 U.S. 431, 442 (2011); United
States v, Wendy, 575 F.2d 1025, 1030-31 (2d Cir. 1978) (reversing trialiudge’s
contempt citation against a lawyer for refusing to foilow the judge’s order to represent a
defendant, where the lawyer correctly determined he was unqualified to provide
representation).

45. Petitioner has requested a hearing and is urging the Court to review both the
unclassified and the classified information which forms the basis for the ethical
conundrum. Upon doing so, Petitioner is confident the Court will agree with General
Baker and the civiiian counsel that lVlr. Kammen’s excusal from these proceedings Was

mandated

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46.Custody of l\llr. Kammen and any detention for failure to obey an unlawful order
violates his right to due process under the Fifth Amendment of the Constitution.
Ground ll
Col. Spath lacked Authority to issue the Contempt Order & Detain
a United States Citizen in lilliiitary Custody

47. Col. Spath is Without authority to issue a contempt order and detain a United
States citizen.

48.A military commission is not a “court.” lt is an Article l tribunal, akin to an
administrative agency board, that operates under tightly constrained powers and may
not act outside of the powers explicitly given it by statute. Col. Spath’s position and
commission operate under the auspices of 10 U.S.C. §§ 948-950 (the i\lliiitary
Commissions Act or lVlCA).

49.The lVlCA was drafted in 2006 to authorize trial by military commission for
violations of the law of war. lt is not a part of the Uniform Code of lVlilitary Justice found
at 10 U.S.C. §§ 801-946a. The Uniform Code of lV|ilitary Justice (UClV|J) is the
foundation of military law and governs the conduct of the armed forces.

50.The jurisdiction of a military commission is penal. Persons subject to the military
commission’s jurisdiction are “any unprivileged enemy belligerents," 10 U.S.C. § 948(c).
Mr, Kammen is not subject to the jurisdiction of the l\/lCA commission

51 . Refusing to obey an order of the l\/lCA commission cannot form the basis of
contempt.

52. in 2009, the contempt provision of the UClVlJ, 10 U.S.C. § 848, was carried over,
nearly verbatim1 to form the contempt provision of the lViCA, 10 U.S.C. § 950t(31). ln

2009, the contempt provision of the UCl\/l.l contained two possibilities for a finding of

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contempt 1) use of any menacing word, sign, or gesture, in the court’s presence, or 2)
disturbing the proceedings by any riot or disorder

53. ln 2011, the contempt provision of the UCMJ was amended to add a third
category of contempt the third category expanded the definition to include, 3) willfully
disobeying the lawful writ processl order, rule, decree, or command of the court-martial
court or military commission

54.This third provision was added in 2011 to §848 of the UC|\/lJ but was never
added to §950t(31) of the l\/|CA. ln fact when the provision was added to the UCl\/lJl a
subsection (c) Was also added which provides specifically that “"This section does not
apply to a military commission established under chapter 47A of this title," (i.e. the
military commissions in Guantanamo).

55.Col. Spath has no jurisdiction to hold l\llr. Kammen in contempt Additiona|ly,
were he to have jurisdiction over lVlr. Kammen, he has no authority under the l\/lCA to
hold l\llr. Kammen in contempt for failure to comply with an order of the commission

56. Under the lVlCA, the commission may hold in contempt and punish “any person
who uses any menacing word, sign, or gesture in its presence, or who disturbs its
proceedings by any riot or disorder.” 10 U.S.C. § 950(t)(31).

57.The relevant clause is “disturb[ed] proceedings by any riot or disorder.” Excused
as counsel, l\/lr. Kammen’s failure to appear does not constitute a “disorder” as that term
is strictly construed

58. Though the word “disorder” has not clearly been defined a heated exchange

between a lawyer and a military judge does not constitute a “disorder." United States v.

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Burneti, 27 l\/l.J. 99 (1988)22. Critically, neither does frustrating an order from a military
judge. United Sfates v, Scaff, 29 lVl.J. 60, 66 (C.l\/l.A. 1989) (refusing to find contempt
Where "the convening authority negated a ruling of the military judge by declining to
provide funds necessary to implement it.").

59. The contempt power has never been construed to cover the disobedience of an
order much less the disobedience of an illegal order.

60.Tal<en together, the lack of properjurisdiction, Congress' unwillingness to extend
contempt under the ClVlA to defiance of a judicial order, and the longstanding
interpretation of the word “disorder,” demonstrates that Col. Spath has no lawful
authority to hold lvlr. Kammen in contempt for refusal to comply With an order,
irrespective of that order’s |egality.

61. in being lawfully excused from continuing representation of lVlr. Al-Nashiri, l\llr.
Kammen is neither engaging in riot nor disorder, nor is he disturbing ongoing
proceedings Having been excused for good cause over ethical concerns, l\/lr. Kammen
has no status in the current proceedings, he is simply a private American citizen

62_18 U_S.C. § 4001(a) (the Non-Detention Act) states that “No citizen shall be

imprisoned or othenivise detained except pursuant to an Act of Congress." `l'he lVlCA

 

22 This case adopts the narrow construction recommended by the leading military law treatise, "\Ninthrop,
l\llilitary l_aw and Precedents. Winthrop determined that “disorder” should be read in conjunction with the
word “riot” and would only reach: assaults committed upon members, or upon persons connected with the
court or properly before it; altercations between counsel or spectators; drunken or indecent conduct loud
and continued conversation; any noise or confusion which prevents the court from hearing the testimony,
and any shouting, cheering, or other expression of app|ause or disapprobation, especially if repeated
after being checked; contumelious or otherwise disrespectful language, addressed to the court or a
member or the judge advocate1 of so intemperate a character as to derange the proceedings, especially if
persisted in after a warning from the court

W_ Vllinthropl lVlilitary Law and Precedents 309 (2d ed. 1920).

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cannot form the statutory predicate to satisfy the Non-Detention Act’s requirement
because its stated purpose is to try “a|ien unprivileged enemy belligerents." 10 U.S.C. §
948(b)(a). Respondents do not and cannot dispute Nlr. Kammen’s status as an
American citizen.

Ground lll
Un|awful Seizure

63. Petitioner incorporates by reference paragraphs 1-27, supra.

64.The Fourth Amendrnent to the United States Constitution states that citizens are
to be secure against “unreasonable searches and seizures.” U.S. Const. Amend lV. lVlr.
Kammen has been unreasonably seized by an Article l tribunal that has improperly
reached outside its proceedings Col. Spath has done so without explicit statutory

authorization, rendering his seizure, custody and any detention unlawfui.

PRAYER FOR REL|EF
WHEREFORE, Petitioner Richard Kammen asks this honorable court to:

1. l-lo|d an evidentiary hearing that would include an examination of all the
relevant evidence, both classified and unclassified At the conclusion of the hearing,
issue a Writ of habeas corpus ordering that l\/lr. Kammen be released from Col. Spath’s
unlawful order to appear as counsel and released from any detention;

2. issue a declaration specifying that a military commission tribunal cannot
hold lVlr. Kammen, a United States citizen, without explicit statutory authorization and
declaring that any further orders purporting to compel lVlr. Kammen to render legal
services at any location are illegal and null and void

4. Order other such relief as this Court deems proper and just.

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Dated: November 2, 2017

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Respectfuily submitted

G)M~_»\

ll:Richard Kammen, Petitioner

By and through his counsel;

ls/ j&.W/'WA. COO:€/
JESSIE A. COOK

Law Office of Jessie A. Cook
400 Wabash Avenue #212
Terre Haute, lN 47807

(812) 232-4634
iessieacool<@icloud.com

/s/ Roi)er't'l/U. Ha/mmari,e/
ROBERT V\l. HAMMERLE
Pence Hensel, l_LC

135 North Pennsylvania #1600
lndianapolis, lN 46204

(317) 643-6960
rhammerle@pencehensel.corn

 

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CERT|F|CATE OF SERVlCE

l certify a copy of the foregoing was filed electronically Notice of this filing will be
sent to the parties of record by operation of the Court’s electronic filing system. Parties
may access this filing through the Court’s system. Col. Vance Spath, l\llilitary Judge,
was served via email at martin.|.sirns.civ@maii.mil because on information and belief
there is no mail service in Guantanamo Bay, Cuba.

The following parties have been served via United States l\/lai| with first class

postage affixed:

General James l\/lattis

Secretary of Defense

United States Department of Defense
1000 Defense Pentagon

Washington DC 20301

Harvey Rishikof, Convening Authority
Department of Defense

Office of l\/lilitary Commissions

4800 l\llark Center Dr., Suite 11F09-02
Alexandria, VA 22350

/s/ /%é'€€"/A. COO)%/
JESS|E A. COOK

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